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ten)

or delayed, of the Indemnifier; provided, however, that
if suit shall have been instituted against the Claimant

or compromise such claim upon giving notice to the

11.4 pefense by the Indemnifier. ce

In connection with any claim which may give rise to

indemity hereunder resulting from or arising out of any
claim or legal proceeding by a person other than the |
Claimant, the Indemnifier, at the sole cost and expense '-
of the Indemnifier may upon written notice to the

select counsel reasonably acceptable to the Claimant -to
conduct the defense of ‘such claims or legal proceedings
and at the sole cost and expense of the Indemifier shall
take all steps necessary in the defense OF -gettlement’
thereof. The Indemnifier shall not consent toa
settlement .of or the entry of any judgment arising from

of any such action, with its own counsel and at its own
expense. If the Indemnifier does not assume the defense
of any such claim or litigation resulting therefrom — -

ch .
_ including, put not limited to, settling such claim or
“Litigation, after’ giving notice of the same to the

- appropriate; and (b) the Indemnifier shall be entitled to
participate in, but not control, the defense of such ‘

Indemnifier thereafter seeks to question the manner in
which the Claimant defended such third party claim or the
amount or nature of any such settlement, the Indemnifier
shall have the burden to prove by a preponderance of the
evidence that the Claimant aid not defend or settle such

third party claim in a reasonably prudent manner.

11.5 Rights. uo .
In the event that either LMI or Laidlaw is entitled to

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12.0

12.3

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indemnification as provided by this section 11, then such
party shall have the right to set-off the entire amount
or any part thereof against an amount, if any, which may
be owing by such party to the other under this Agreement.

Agreement shall be exclusive of any other right or

remedy, and all such rights and remedies shall be
cumulative.

PAYMENTS .
payment of Royalties. ae -
Royalties shall .be payable quarterly, and payment shall .°... -.

be accompanied by a schedule describing the calculation
of-the payment.

ADDL QVS Pavnens 9 vices (OtdSs. eM iS 2 2s
Payments will be made only upon the approval by Laidlaw
of valid invoices submitted in accordance with the tarms
of this Contract, and shall be due 30 days after
Laidlaw’s receipt: of such. invoice or acceptance of ‘the
invoiced Product, whichever is later.

Invoices: :

IMI shall render all invoices in quadruplicate for ”
payment: when due. Invoices shall be mailed -to: Laidlaw.
gransit, Inc., 3221 North service Road, Burlington,
gntario, Canada L7R 3¥8. Laidlaw’s specification number,
contract number,’ and project name shall appear on all

_ invoices.

- 12.4

13.0.

© -
Full payment by Laidlaw shall not release LHI or . os
Shareholder from their responsibilities to fully carry
out theix respective obligations under this Contract.

5 "

included in the contract price, and are payable by LMI.
Apart from the. foregoing, each party to this Contract
will be responsible for any sale, use or personal
property taxes. attributable to that party’s own business
activities’ subsequent to the date of this Contract.

CONSE DAMAGES

LAIDLAW SHALL NOT BE LIABLE FOR INCIDENTAL SPECIAL, OR

CONSEQUENTIAL DAMAGES INCLUDING, BUT NOT LIMITED TO, COMMI
TO SUBCONTRACTORS, RENTAL OR LEASE AGREEMENTS, AND PERSONAL

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SERVICE CONTRACTS, UNLESS’ EXPRESSLY AUTHORIZED IN WRITING BY
LAIDLAW.

14.0 DEEAULT

14.1

-Any one or more of the following events shall constitute
an Event of Default on the part of LMT (whether any such
Event of Default shall be voluntary oF involuntary or be
effected by operation of law or pursuant to or in
compliance with any judgement, decree er order of any
-.. ggurt or any order, rule or regulation of any
.. «administrative or governmental body) : ves
(a) the failure by LMT to perform or obsexve any of the
covenants , conditions oF agreements to be performed
or observed by IMI; .

(b) the failure by Edulog to perform or observe any of
. the covenants, conditions or agreements to be
performed or observed by Edulog pursuant to any’
agreement with Laidlaw; :

(c) the making of any representation or warranty by LMT
herein or in any document or certificate furnished

at any time to be materially incorrect, a5 of the
e Gate nadej .

_(a) the making of any representation or warranty by
Eduleg to Laidlaw which shall prove at any. time to.

be materially incorrect, as of the date made;

_(e) the making of any order or the passage of @

resolution for. the Liquidation or the winding-up of
‘, LMI or Edulog; . .

(g) the appointment of a receiver, receiver-manager, OF
receiver and manager of IMI or Edulog or any part of
the property or assets of either; ,
(h) ‘the enforceability of any execution, ‘sequestration,
extent or any other process of any court against LMI
or Eduley or the levy of a distress Or analogous
process upon the property oF assets of either or any
part thereof unless the execution, sequestration,

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extent. or other process of the court or distress or
‘analogous process is in good faith disputed by LMI

' gives adequate security satisfactory to Laidlaw to
. pay-in full the amount claimed.

14.2 Remedies Upon Default by Lith.

Upon the occurrence of any Event of Default set forth in
subsections (a) to (d} jnclusiva of section 14.1, Laidlaw
shall give written notice to IML specifying the default

.- « , occurrence of, any Event of Default set forth in... 2... -
subsection (e) to (h) inclusive of section 14.1, Laidlaw
nay, in its discretion, forthwith declare this Contract

to be in default. .At any time thereafter, while IMI or |
Edulog shall not. have remedied all ‘outstanding Events of
Default set forth in section 14.1 Laidlaw, at its
discretion and subject to compliance with any mandatory
requirements of applicable law then in effect, may:

(a) terminate any of its obligations hereunder;

(b) demand delivery to it of the Product and Source code
held in escrow pursuant to the provisions of the
Escrow Agreenent dascribed in section 9.4;

- £c). exercise any oF all of its renedies’ under this
contract or otherwise available to it.

14.3 Events lt

_ Any one or more of the following events shall constitute”
an Event of Default on the part of Laidlaw (whether any.

(a) the failure by Laidlaw to perform or observe any of
" the covenants, conditions or agreements to be
performed or observed by Laidlaw hereunder;

(b) . the making of any representation or warranty by
Laidlaw herein or in any document or certificate

furnished to LMI in connection herewith which shall

prove at any time to be materially incorrect, as of
the date made;

(c) the making of any order or the passage of a
resolution for the liquidation or the winding-up of

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Laidlaw;

(ad) the making by Laidlaw of a proposal or general

assignment for the benefit of its creditors, OF

other acknowledgement of its insolvency, or the
insolvency of Laidlaw; ,

(e} the appointment of a receiver, receiver-manager, ‘Or
receiver and manager of Laidlaw or any part of its
property or assets;

(£) the enforceability of any execution, sequestration,

claimed.

14.4 Remedies Upon Default by Laidlay.
Subject to the provisions of section 14.5, upon the
occurrence of any Event of Default set forth in section
[14.3, LMI shall give written notice to Laidlaw specifying
‘the default and: providing that Laidlaw must cure the
‘@efault within thirty: (30) days or LMI may, in its
‘discretion, declare this Contract. to be in.default. At
any time thereafter, while Laidlaw ghali not have . .
_renedied all outstanding Events of Default on the. part.of -
Laidlaw, IMI, at its discretion and subject, to compliance

with any mandatory requirements: of applicable, law then in) ,
effect, may:

(a) | terminate the exclusivity of the License, -granted.
"| $ pursuant to section 2.2;

“(by exéreisé any or all of its remedies under this =. —— +r...
Contract or otherwise available to it. ,

14.5 Notwithstanding the provisions of section 14-0 OF .
anything else contained in this contract, upon payment of
the sum of US $1,500,000.00 pursuant to section 4.1
hereof, no Event of Default on the part of Laidlaw or any

diminuition of: (a) the grant of perpetual and .
irrevocable non-exclusive license contained in section
2.1 (thea ‘"Non-Exclusive License"), which license shall be
fully and completely and perpetually vested in Laidlaw
upon paynent of such amount, or (b) the rights and

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penefits related to the Non-Exclusive License, including
without limitation those matters described in section 4.1
and elsewhere in this Contract. ~

(14.6

_ No remedy herein ig intended to ba exclusivs. Each and’
every remedy shall be cumulative and shall be in addition

th .
Product, and shall cause Edulog to grant to Laidlaw a first right
of refusal to purchase Edulog’s rights ‘and interests ‘in and to.

the Product, in accordance with the provisions of Schedule 5
hereto. ot

16.0 HOM COMPETITION

16.1 puring the currency of the. grant of exclusive license. to.
Laidlaw described in section 2.2 of this Contract, and so
‘long as LMI is not in default hereunder, Taidlaw will not

developers whereby Laidlaw is granted the Lidense to use
other school bus routing software which performs similar
functions as the Product. Notwithstanding the foregoing,
Laidlaw shall be entitled to modify or develop the -
Product software and applications programs, and shall be
entitled to, ownership of all modifications. and:
developments. tems “*: ce tee fee oe . cabo. .

feito 6 geet me
wu” *

16.2 During such period of time af Laidlaw is licensee of the
Product, LMI and its affiliates and related parties and os
Shareholders will not directly or indirectly compete with’...

Laidlaw in the provision of school bus contractor
services. .

17.0 FORCE MAJEURE

. Neither party shall be responsible for delays or failure
in performance resulting from acts beyond the control of such
party. Such acts shall include but are not limited to acts of

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God, riots, acts of War, epidemics, fire, earthquakes, or other
disasters. LMI shall promptly notify Laidlaw of any delay due to
reasons beyond its control, and the expected duration of such
delay. Re-assignnent, resignation, OF incapacity of assigned

personnel are specifically excluded from consideration as force
najeure.

18.0  NONWATVER

No term or provision hereof shall be deemed waived nor

: any breach excused, unless such waiver or excuse shall be in
writing and signed by the party claimed to have waived or Tae
excused. Any consent by any party to, or waiver of, & breach by
the other party, whether express or implied, shall not constitute |

a consent to, waiver of, or excuse for any other or subsequent
breach. , .

19.0 LAWS, REGULATIONS .

All material furnished hereunder shall be 80 designed and
constructed that when installed it will comply with all ,
applicable federal, state, provincial and local laws, rules and.
regulations, including, but not limited to, "occupational safety
and Health Standards", promulgated by the U.S. Secretary of
and Safety Orders of any competent state agency or department
having jurisdiction. -All expenses incurred in complying with .
these requirements are understood toe be 4ncluded in the Contract

20.0 SHAREHROLDER’S OBLIGATIONS .-

In consideration of the premises, of Laidlaw entering
into this Contract, (which the ‘Shareholder represents to Laidlaw
is to his behefit), and of the sum of ten dollars and other good.
and valuable consideration now paid by Laidlaw to the Shareholder
(the receipt and sufficiency of each of which as-separate = - .- .--
consideration is hereby acknowledged by the Shareholder), the
Shareholder jointly and severally joins in with LMI in making the
representations warranties and covenants on the part of LMI made
herein, and covenants and agrees with Laidlaw to indemnify. and
hold harmless Laidlaw from and against any and all clains,
damages, loses, liabilities, costs and expenses (ineluding
without limitation settlement costs and any legal fees, court
costs, accounting costs, investigation costs, OF other expenses
for any actions or threatened actions) incurred or experienced by

warranty, covenant or agreement herein contained by or on the

part of LMI. fhe provisions of section 11.3 and 11.4 shall apply
mutatis mutandis to a claim of indemnity ma

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Shareholder will cause Edulog to perform those acts and matters

ascribed to Edulog herein or indicated to be undertaken by Edulog
hereunder. . .

21.0  PREPATD COMMUNICATIONS | +

_. Any prepaid communications directed to either party at
its address given in this Contract and mailed postage prepaid
first class registered mail shall constitute. sufficient service
for all purposes connected with this Contract. -

22.0 ° guBTsDicTioN

The rights and obligations of the parties arising out of ©

this Contract shali be governed and interpreted in all respects.

_py the laws of the State of Washington, Any controversy oF clain
arising ‘out of or in any way relating to this contract which
cannot be amicably settied without court action shall be

jurisdiction; or if jurisdiction over the action
obtained in a

W
competent Surisdiction situated in the state of Wa

23.0

Cos -Except to the extent that the provisions of this Contract

- are clearly. inconsistent therewith, , this Contract. shall be

governed by any applicable provisions of the Washington Uniform .
delivery or performance of services such services shall be ,

deemed "goods" within the meaning of the Washington Uniform

Commercial.‘Code, except.when to so deem such services 45 “qoods*
would -result in an absurdi .

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24.0  ENFORCEABILITY

‘ ynenforceable or invalid by a court of competent jucisdicticn,

25.0°° & ae g S
The headings and ‘subheadings contained in this Contract

~30--::

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are used solely for convenience and do not constitute 2 part of

this ‘agreement between the parties hereto nor should they be used
to aid in any manner in the construction of this contract.

Neither LMI nor Laidlaw shall assign its rights or
delegate its duties under this contract, except as

26.2 Laidlew’s Bight to Aselon or Sub-licantes

Notwithstanding the provisions of section 25.1, Laidilav

Transit, Inc. shall be entitled to assign or sublicense
jts rights under this contract to any subsidiary or
affiliate of Laidlaw fransit, Ince, provided that: -

. (a) such subsidiary or affiliate agrees in writing. with
LMI to be bound, and is pound, by all of the
representations, warranties, covenants and

agreements on the part of Laidlaw herein contained;
and

(b) Laidlaw gransit, Inc. shall not thereby be released
from any of its obligations pursuant to this .
wv Contract, and Laidlaw fransit, Inc. hereby so

26.3 LMI’s Right to Assign. .

‘Notwithstanding the provisions of section 25.1, LMI shall

be entitled to assign its rights under this Contract to

Edulog, provided that Eduleg agrees jn writing with

Laidlaw to be bound, and is bound, by all of the .
representations, warranties, covenants and agreements on

the part of IMT herein contained, and IMI shall not

thereby be released: from any of its obligations. pursuant. i...
to this Contract, and IMI so agrees. so

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regardless of any investigation at any time made or any
information Laidlaw, OF {ts officers, directors, employees,

agents or advisors, may at any time have or nave had with respect
‘thereto. '

28.0 gO "DS

The representations, warranties, covenants, agreements,
obligations, guaranties and indemities given oF made pursuant

hereto by LMI and Shareholder and each of them shall be joint and
several. |

29.0

do, all such further acts and things, and execute and deliver
Such documents and assurances, and effect such registrations
(including, without limitation, registration of Edulog’s .
copyright in the software, the rights in such Software granted to
Laidlaw herein, and the rights in such Software granted by Edulog
to IMI), as may reasonably bs requested by Laidlaw. to carry out,
implement, give notice of, or perfect the matters and things.
described herein and the rights granted hereby. Laidiaw shall

be
entitled to select and direct any counsel OF other professional
advisors engaged in effecting such registrations.
e

30.0 - INTEGRATION

- commitments , representations, writings, and discussions between

IME and Laidlaw, whether oral or written, and has been induced by

_~- ho representations, statements Or agreements other than those .
expressed herein. Neither LMI’ nor Laidlaw shall be. bound by, amy. ...
prior obligations, conditions, warranties or representations with
respect to the subject matter of this contract.

_ IN WITNESS ‘wHEREOF, this Contract has been signed and
delivered as of the date first above written.

LOGESTICS MANAGEMENT, IHC.

_ EXHIBIT A
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SIGNED, SEALED and DELIVERED

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Name (Pyinted) . }
199 _) Pine LY Ssonle WAY
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Address

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SCHEDULE A

Particulars of Litigation

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SCHEDULE A

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ion Logistics, Inc. has brought suit against Ecotran Systems, Inc. &
corporation and Steven Till in the Montana Fourth Fudcial Cou, Misorss, 0 Oty

i his and
verclaimed against Bdulog alleging Edulog wrongfully terminated ;
that Bdulog owes him cectain wages and expenses. the validity of Hill’s
claim.

‘back wages and expenses. i , jon, The matter hes been

and The companies deny Garg’s allegation. T as |
bac wee earl agred upon bythe pane, and a decison is expecind win ®)
days.

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SCHEDULE B

Regional Price schedule

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SCHEDULE B_

License Cost is an Average price with each region balanced as a percentage of
that-amount. This Schedule is to be updated on September 1, 1992 and annually
thereafter.

MID-ATLANTIC | 90% —__ 90% «|. (90%. 90%
NEW ENGLAND | 90% 90% 90% .. 90%
MIDWEST 100% 100% . 100% 100%
NORTHWEST 100% 100% 100% 100%
MID-PACIFIC 100% 100% 100% 100%
4 SOUTHWEST 100% | 100% 100% 100% - -
1. Texas |. 85% gsm | «85% 85%.
SOUTHEAST | 100% 100% 100% 100%
CANADA .°* |. 110% “110% - 110% 110%
CAwpwisNohnelLicense
EXHIBIT A
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STUDENT ENROLLMENT

‘| LICENSE COST $16,500 $18,000 $18,750
| REGION _
| NORTHEAST 90% 90% 90%
MID-ATLANTIC | 90% 90% 90%
NEW ENGLAND | 90% 90% 90%
MIDWEST 100% 100% 100%
NORTHWEST 100% 100% 100%
MID*PACIFIC 100% 100% 100%
SOUTHWEST 100% 100% 100%
-- - Pexas| 85% 85% 85%
SOUTHEAST 100% 100% 100%
CANADA, 110% 110% 110%
EXHIBIT A

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“ SrODENT ENROLLMENT

LICENSE COST j $19,500 To be determined
REGION ,
NORTHEAST 90%

MID-ATLANTIC 90%
NEW ENGLAND 90%

MIDWEST 100%
NORTHWEST 100%
MID-PACIBIC 100%
SOUTHWEST {| 100%

: Texas} 85%.
SOUTHEAST . | — 100%

CANADA + - 110%

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SCHEDULE G

Particulars of LMT and Hdulog Customers

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SCHEDULE C ;

EDUCATION LOGISTICS, INC.

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Complete User List
Abbotsford School District #34 Albuquerque Public Schools
31759 King 1700 Pennsylvania NE
Clearbrook, BC V2T 4M7 Albuquerque, NM $7110
CANADA Larry Madrid
Jerry Harding : ion, Managet
ion Managet — . (605) 294-1522

(604) 859-4891 Total Students: 85,000
Total Students: b, Square Miles: NA
Square Miles: N/A. Implemented: 1990
Implemented: 1990 .

Allef Independent School District
Adams County School District #12 P.O. Box 68
(Northglenn-Thornton) Alief, IX 77411
414 144th Avenue Louis B. Stoerner
Broomfield, CO £0020

Virginia Stanek (713) 498-8110

Executive Director Total Students: 28,

(303) 452-6553 Square Miles: NIA

_ Total Students: Implemented: 1
Square Miles:
. Implemented: 1988 Alvin Independent School District
605 West House
Alberni School District #70 Alvin, TX 77511
4690 Roger Street . John Ralph
Port Alberni, BC V9Y 3ZA Assistant Director

Ernie Inglehart (713) 585-3701

Transportation Managet Total Students: N/A

(604) 723-3565 Square Miles: N/A
Total Students: 6,041 Implemented: N/A
Square Miles: N/A
Implemented: 1991

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EXHIBIT A

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EDULOG—Complete User List CONFIDENTIAL Page 2
Anchorage School District Appleton Area School District
3580 East Tudor Road 120
Anchorage, 99507 Appleton, WI 54911

J. Steven Kalmes Jim Schwaller
Director, Transportation/ Data Processing rdinator
Vehicle Maintenance (414) 832-6109
(907) 563-3022 Total Students: 13,000
Total Students: Square Miles: Ni.
Miles: N/A Implemented: 1990
Implemented: 1983
Arlington Independent School District
Anderson Community School Corporation West Pioneer Parkway
30 West Lith Street TX 76013
Anderson, IN 46016 Mr. W.J. Winter
Mary Ann Vaught Director of Planning
Assistant Director of Transportation (817) 459-7809
(317) 641-2024 Total Students:
Total Students: 15, Square Miles: N/A.
Square Miles: 84 Implemented: 1990
Implemented: 1989
° Aurora Public Schools
Anoka-Hennepin LSD. #11 pahos #28])
11299 Hanson Boulevard N.W. 90 Buckley Road. -
Coon Rapid’, MN 55433 Aurora, CO 80011
Chuck Holden
_ Director of ‘Transportation. Director of Transportation
(612) 422-5606 (303) 344-8060
Total Students: 36,000° Total Students: 25,700
Miles: N/A Square Miles: N/A weno
Implemented: 4991 Implemented: 1988
‘Anthony Wayne Local School District Avon Lake City Schools °
11012 Shepler Avenue . 175 Avon Belden Road
Whitehouse, OH 43571 Avon Lake, OH 44012
Leonard Kleinlein Erik Helgesen
Transportation Director Director of Business .
(419) 877-0451 (216) 933-7328
Total Students: 3,500 Total Students: N/A
"Square Miles: N/A Square Miles: N/A
Implemented: 1990

Implemented: N/A
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EDULOG— Complete User List

Barbour County Board of Education

105 South Railroad Street

Philippi, WV 26416
Edward Larry

‘Director of Transportation
(304) 457-3030
- Total Students: 3,000
Square Miles: NA.
Implemented: 1990

' Barrow County Schools
109 Church Street
Winder, GA 30680
Dan Cromer
Assistant Superintendent
(404) 867-4527
Total Students: 5,000
' Square Miles: 167
Implemented: 1988

Square Miles: 300
Implementéd: 1992

Bath Local School District
2650 Bible Road
Lima, OH 45801
Richard L. Lhamon
Assistant Superintendent
(G19) 21-0807
Total Students: N/A
Square Miles: NIA
Implemented: NA

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on

Bay City Public Schools

910 North Walnut .

Bay City, MI 48706
James A. Griffiths
Director Planning,

& Pupil Services
(517) 686-9700 ext. 125

- Total Students: N/A

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EDULOG— Complete User List

Bedford School District
School Administration Unit 26
170 South River Road
Bedford, NH_ 03102

Jerry Valle

tion Coordinator

(603) 472-5447
Total Students: 5,500
Square Miles: N/A
Implemented: 1989

Belvidere Community Unit
‘School District #100

1201 Sth Avenue
Belvidere, TL 61008

Square Miles: NA
Implemented: NIA

_ | CONFIDENTIAL , Page 4

* Billings School District #2

1201 2nd Avenue North
Billings, MT §9101-2619 —

(406) 255-3575
Total Students: 18,000
Square Miles: NIA
Implemented: 1990

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EDULOG—Compiete User List CONFIDENTIAL Pages.

Binghampton BOCES Bloomington Public Schools 1.S.D. #271 -

South Tier Reg. Comp. Center 3900 Portland Avenue South
Browne-Deleware-Tioga BOCES Bloomington, MN 55420
421 Upper Glenwood Road Jan Dittbrenner
Binghampton, NY 13905. Supervisor of Transportation
William Tomie * (612) 887-9109 |
Dir. of Computer Operations Total Students: 11,350
(607) 729-9301. : , Square Miles: N/A
Total Students: N/A Implemented: 1990
Miles: N/A
Implemented: N/A Boulder Valley Public Schools
6500 East Arapahoe
Birdville Independent School District Boulder, CO 80302
6125 Bast Belknap Street Pat Sandham
Fort Worth, TX 76117 ‘Transportation Supervisor
Dr. Richard Whitney (303) 447-1010 ext. 482
Director of Information Systems Total Students: 21,000
(817) 831-5892 Square Miles: N/A.
Totel Students: 17,000 Implemented: 1986
Square Miles: NIA
Implemented: NIA Bridgeport-Spaulding
. Community School District
Birmingham Public Schools 3878 Sherman Street. 7
2125 Hast Lincoln Bridgeport, MI 48722 oo
Binmi MI 48008 Judy Pretzer
Joseph F. Griffin Transportation Supervisor
Transportatién Director (517) 777-4820
(313) 644-0102 ‘Total Students: N/A
Total Students: 7,400 * "Square Miles: N/A
Square Miles: 50 Implemented: N/A
Implemented: 1985
: Brookfield Public Schools
100 Pocono Road
Brookfield, CT 06804
Dave Minnich
Business Manager
_ (203) 775-1448
_ Total Students: NIA
Square Miles: N/A

Implemented: N/A

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Brookville Local Schools
4151 Brown Street
Brookville, OH 45309
Ken Swink .
‘Transportation Supervisor
(513) 833-4724 |
Total Students: N/A ©
Square Miles: N/A
Implemented: N/A

Broward Coutny School Board
1320 Southwest 4th Street
Ft. Lauderdale, FL 33312

Ed Hineline

Asst. to Lee Stepancek
~() -
Total Students: 170,000
Square Miles: 440
Implemented: N/A

Burnsville School District #191
- 100 River Ridge Court
Burnsville, MN 55337
Mr. Steve George
Director of Planning
(612) 895-7233
Total Students: 9,000
Square Miles: N/A
Implemented: 1990

Butte School District #1
111 North Montana Street —
Butte, MT 59701
- Cliff Steel

Manager of Transportation

(406) 723-4371 ,
Total Students: N/A
Square Miles: N/A
Implemented: N/A

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Byron Community Unit
School District #226 -
P.O. Box 911
Byron, IL 61010 ©
. ’ Jim Jennings -
ion Dixector
(815) 234-5491

_ Total Students: 1,200

Square Miles: N/A
Implemented: N/A

Calhoun County Schools
P.O. Box 460
Grantsville, WV 26147
Mx. Don Pitts
Dir. of Transportation.
(304) 354-7011
Total Students: N/A
Square Miles: N/A
Implemented: N/A

Calvert County Schools

Dares Beach Road ton

Prince Fredrick, MD 20678
Warren Prince
Supervisor of Transportation
(301) 535-1700

Total Students: 9,000

Square Miles: N/A.

Implemented: 1990

Canton City Schools
617 McKinley Avenue SW.
Canton, OH. 44707
‘Brad Adkins .
Transportation Department
(216) 438-2507 ext. 624
Total’ Students: N/A
Square Miles: N/A
Implemented: N/A

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Capital Area Intermediate Unit #15
26 North 9th Street
Lemoyne, PA 17043

George Zimmerman

Business Manager

(717) 732-8400
Total Students: 1,700

e Miles: N/A

Implemented: 1990

Carmel-Clay Schools

5201 EB. 131st Street ..

Carmel, IN 46032
LesPence
Director of Transportation _
(317) 57 1-4065

Total Students: 9,000

Square Miles: 90

. Implemented: 1991

Cecil County Public Schools
Booth Street
-Bikton, MD 21921-
Robert Cornell
Assistant in Transportation
(301) 996-5416
Total Students: 12,000

Square Miles! 380 wo were pees 5 nets

Implemented: 1990

Central Dauphin School District
600 Rutherford Road
Harrisburg, PA 17109
Dan Lehman
Coordinator of Transportation
‘(T17) 545-4703
Total Students: 8,700
Square Miles: N/A
Implemented: 1986

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Champaign Community Unit

School District #4

703 South New St.

Champaiga, IL 61820
Sorgenfrie

Director af Data Processing .
(247) 351-3801

Total Students: 8,500

“Chaska” Salden Bus Service
402 6th Street West :
Chaska, MN 55318

Ed Salden

Vice President

(612) 448-2696
Total Students: N/A
‘Square Miles: N/A
Implemented: NIA

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EDULOG-— Complete User List

City of Chicago School District #299
1819 W. Pershing Road
- 6th Floor, West Building .
Chicago, IL 60609
Rose Sampieri
Administrator of
Student Transportation
(312) 535-7740
Total Students: 440,000
Square Miles: 300
Implemented: 1991

Chico Unified School District
- 1163 East 7th Street
Chico, CA 95926
Craig T. Biasca
Data Processing Supervisor
(916) 891-3023
Total Students: 12,000

. P.O. Box 337

Highway 191 & Navajo, Routs 7

Chinle, AZ 86503-337
Anthony Towne
(602) 674-9400

Total Students: 3,378

Square Miles: N/A

Implemented: 1989

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Chippewa Valley Schools

19120 Cass Avenus

Mt. Clemens, MI 48044
Kristina Johnson
Director of Data Processing
and Pupil Personnel

- 313) 286-7600 .
Total Students: N/A

Citrus County School. Board
1007 West Main Street
Inverness, FL 32650
Dr. James Pullar
Director of Planning
(904) 726-1931
Total Students: 10,000
Square Miles: 629
Implemented: 1990

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EDULOG~— Complete User List CONFIDENTIAL Page 9 desl
_ Clark County Public Schools = Cleveland Public Schools
' 175 Alexander Street , 3832 Ridge Road ~
Athens, GA 30610-1299 . Cleveland, OH 44114
Robert Millians Dave Adams -
Admin. of Pupil Transportation Routing Manager
(404) 548-6971. (216) 634-7028
Total Students: 10,500 - . Total Students: 72,000
Square Miles: N/A Square Miles: 190-
Implemented: 1989 Implemented: 1991
Clarkstown Central School District Clovis Unified School District
‘30 Parrott Road 55 Shaw Avenue, Suite 217.
West Nyack, NY 10994 Clovis, CA. 93612
Robert Alexander Joe Bjerke
Transportation Supervisor tion Director
(914) 634-6467 , (209) 297-4000
Total Students: N/A Total Students: 22,500
Square Miles: N/A Square Miles: N/A
Implemented: N/A Implemented: NA
Clarksville Montgomery County -. - Cobb County. Public Schools
School System. 620 South Cobb Drive
2620 Highway 41A. Marietta, GA. 30060
Clarksville, IN 37043 . : Cariton Allen
Joe D. Haley , Associate Director of ‘Transportation °
Supervisor of ‘Transportation (404) 426-3535
(615) 358-9465. . Mr, Carroll Pitts
-~ Total Students: 15,000 Directorof Transportation. 0. 2. 0 u 2st
Square Miles: 500 . " (404) 426-3333 ,
Implemented: 1989 Lo : Total Students: 69,000
' * Square Miles: N/A
Clayton County Public Schools Implemented: 1985
120 Smith Street
Jonesboro, GA. 30236
David Butler
_ Administrative Assistant for MIS
(404) 473-2825 -
Total Students: 35,000
Square Miles: N/A

Implemented: N/A

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EDULOG— Complete User List

Collier County Public Schools 7
5700 Cougar Lane
Naples, FL 33942
Art Dobberstein
Director of Transportation
-(813) 597-9088
Total Students: 20,000
Square Miles: N/A. uo
Implemented: 1990

Colonial School District
730 Flourtown Road
Plymouth Meeting, PA 19462
Catherine Johns
ion Supervisor —
15) 834-1670
Total Students: N/A
Miles: N/A
Implemented: N/A

Columbus City Schools

737 Hudson Street, .

Columbus, OH. 43215
Dave Mohler

Transportation Systems Amalyst .

(614) 365-6707
Total Students: 65,000

_ Square Miles: 120 /

Implemented: 1990

Concord Community Schools
59040 Minuteman Way
Elkhart, IN 46517
Marv Roush
Director of Transportation
(219) 875-6577
Total Students: 3,500
Square Miles: N/A.
Implemented: 1989

, Grounds. .

CONFIDENTIAL. Page 10 La

Connetquot Central
School District of Islip If

780 Ocean Avenue
Bohemia, NY 11716
Laura Spano
jon Supervisor ~
(516) 244-2201
Total Students: N/A
Square Miles: N/A
Implemented: N/A

George Antal - . .
Director of Transportation, Buildings,
(219) 663-3371
Darlene Trinowsky
Dispatchers
(219) 663-1465

Total Students: 5,300

Square Miles: 64

Implemented: 1990 _

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EDULOG—Complete User List CONFIDENTIAL - Page 1 iy
Cumberland Valley School District Decatur Township
6746 Carlisle Pike Metropolitan School District
Mechanicsburg, PA 17055 71523 Mooresville Road
Chuck Snively West Newton, IN 46183
ransportation Manager Linda.Larisou
(717) 697-8261 ‘Transportation. Supervisor
Total Students: 7,000 . B17) 856-8060
Square Miles: 102 o Total Students: 5,200
. Implemented: 1991 Square Miles: 36
. Implemented: NA
Dalton City Schools ”
100 South Hamilton Street Deer Valley Unified School District #97
Dalton, GA 30722 20402 North 15th Avenue
Jobnny Bridges Phoenix, AZ 85027
Director of Facilties & Transportation Sharon Exb
404) 278-7866 ' T n. Coordinator
Total Students: 4, (602)-581-7741
¢ Miles: N/A Total Students: 13,
Implemented: 1991 Square Miles:
: Implemented: 1989
Davis County School District
Box 1209, Building F2 Defiance City Schools
Freepo ter 629 Arabella Street
Farmington, UT 84016 Defiance, OH 43512
A. Jack Graviet | O.C. Beindorf
_. “Director of Transportation . Dir. of ‘Trans/Personnel
(BOI TITAS... (419) 782-0070
Total Students: 50,000 - - ‘Total Students: N/A Ce
Square Miles: NIA - Square Miles: NA. . 7 Ls
Implemented: 1989 Implemented: NIA
Decatur School District #61
"101 West Cerro Gordo
Decatur, 0 62523
Larry Reed
Coordinator of Day-to-Day Data
(217) 424-3087
Total Students: 14,000
Square Miles: 44

Implemented: 1990

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EDULOG— Complete User List CONFIDENTIAL . Page 12 '
Delaware Dept. of Public Instruction Des Moines Public Schools |
P.O. Box 1402 1800 Grand Avenue
Dover, DE 19903 Des Moines, 1A 50307-3382

Harlan “Ted” Tull Dr. Don Prine
State Director of Trans. Director of Transportation
(302) 739-4697 (515) 242-7884
Total Students: N/A Total Students: 32,000
Square Miles: N/A ° yo Square Miles: N/A-
Implemented: N/A . Implemented: 1990
Complete Implemenation of every district
in the state Detroit Public Schools
$145 Greenfield
Denton Independent School District Detroit, MI 48202
909 Linden Clarance Clavon
Denton, TX 76201 Director of Transportation
Gene Holloway (313) 849-2422
Supervisor of Transportation Total Students: 170,000
(817) 387-3846 Square Miles: N/A
* Total Students: 10,000 _ Implemented: NIA
Square Miles; N/A
Implemented: 1991 County 8. D. Re. 1
Lo. 2808 South State Highway 85
Derby Unified School District #260 . Castle Rock, CO 80104
120 Hast Washington vs Chuck Lee
_ Derby, KS 67037; ‘Transportation Dixector
Howard Bowie (303) 688-3315
_ Director of Operations =” Total Students: 11,100
Total Students: 6,000 Implemented: 1991
. Square Miles: NA
Implemented: 1990 ‘Dublin City School District
. “+ 447 Bast Jackson Street
Dublin, GA 31021
John Deamer
Director of Special Projects
(912) 272-3440
Total Students: 3,600
Square Miles: N/A.
Implemented: 1990

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Dufferin-Peel Roman Catholic East Meadow Union Free School District
Separate School Board Transportation Department
5685 Keaton Carman Avenue
Crescent, Mississauga, ON L5R 3H5 Bast Meadow, NY 11554
CANADA . Raymond Regan ext. 220
Rob Scott Dir. of Fac. Oper. & Trans.
Supervisor of Transportation , (516) 794-7000 ext. 220
(416) 890-5300 ext. 226 Total Students: 7,500 -
Total Students: 56,000 Square Miles: N/A
Square Miles: N/A. Implemented: 1986
Implemented: 1987
. Eden Prairie Schoot District #272
Kanes Independent School District $100 School Road
601 Camp Craft Road Eden Prairie, MN 55344
Austin, TX 78746 Rose Linden
David Bolles rtation Director
Director of Transportation (612) 937-3671 ext. 671
(512) 327-1197 Total Students: 7,000
Total Students: 4,800 Square Miles: N/A
Sa ate! 1990 mm _”
East Allen County School District . 1101 Rast Schunior
1322 Green Road - ss Bdinburg, TX 78539
__ New Haven, IN 46774 Jonas Ybarra
Floyd Place : Director of Transportation
_ Director of Transportation. (512) 383-2779 .
. - (219) 493-3761 ext. 216 -- ‘Total Students: 6,000 Ce ees
, ° Total Students: 12,000 Square Miles: N/A
Square Miles: 250. Implemented: 1989 .
Implemented: 1989
East China Schools
1585 Meisner Road
” Marine City, MI 48039
Larry Aspenleiter
Transportation Director
(313) 765-5422 or 9701
Total Students: N/A
Square Miles: N/A
Implemented: 1991

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Edmonds School District #15 -- Bile Grove Unified School District
3800 196th South West 8820 Elk Grove Blvd. =~
Lynnwood, WA 98036 Elk Grove, CA 95624
Jim Page Terry Fugisang
Supervisor of Mgmt. Info. Systems. Director of ‘Transportation
Reg Clark - (916) 686-7733
‘Director of Transportation Total Students: 22,200
(206) 670-7017 , Square Miles: NA
Total Students: 17,500 - Implemented: 1991
Square Miles: N/A
Implemented: 1990 Elihart Community Schools
2720 California Road
Educational Service Dist. #101 Elkhart, IN 46514
West 1025 Indiana Avenue Kathy Shewmaker
Spokane, WA 99205-4562 ‘Transportation Department
Dick Caldwell (219) 262-5532
Coordinator, , Total Students: 11,000
Region V Pupil Transportation Square Miles: N/A
(509) 456-2718 Implemented: 1988
Total Students: N/A
Square Miles: N/A . £1 Paso County School District #11
Implemented: 1989 - (Colorado Springs)
800 Babcock Road ‘
Elida Local School Dist. "Colorado Springs, CO 80915
101 Bast North Street __ Reeves Smith
Elida, OH 45807 Director of Transportation
Joseph Rogers (719) 520-2144
Superintendent ... Total Students: 30,300
(419) 331-4155 Square Miles: N/A
Total Students: N/A . Implemented: 1989
Square Miles: N/A .
Implemented: NA Elyria Public Schools
355 Griswold Road
Elyria, OH 44035
Fred V. Stephens
Business Manager
(216) 324-7500
Total Students: N/A
Square Miles: N/A

Implemented: N/A

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don)
Euclid City Schools — Fontana Unified School District
651 Bast 222nd Street 9820 Citrus Avenue
Budlid, OH 44123 Fontana, CA 92335
, Ronald Victor J. R. Wagner
Business Manager Transportation Director
(216) 261-2900 (714) 357-5210
‘Total Students: NWA - Total Students: 27,000
” Square Miles: N/A - Square Miles: N/A -
Implemented: NIA Implemented: 1988
Fairbanks North Star Borough School Forest Hills Local School District
District 7550 Forest Road
8th and Cushman Street Cincinnati, OF! 45255
F AK. 99707-1250 Ron Yeager
Robert R. Shefchik Assistant Treasurer
rtation Coordinator (513) 231-3600
(907) 452-2000 Total Students:
Total Students: 13,000 Miles: N/A
Square Miles: N/A. Implemented: NIA
Implemented: 1988
. a Forest Hills Public Schools
Farmingdale Unified School District 6001 Hall SE.
Van Cott and Grant Avenue Grand Rapids, MI 49546
Farmingdale, NY 14735 Linda Schwartz :
Bill Slymex ion Supervisor
rtation Supervisor (616) 676-8931
_ (816) 752-6555. Total Students: 5,700
Total Students: 6,000 oe Square Miles: 65
Square Miles: N/A Implemented: 1990
Implemented: 1988 .
Fox Chapel Area School District
Fayette County School District 611 Field Club Road
210 Stoxtewall Avemuc Pittsburgh, PA 15238
Fayetteville, GA 30214 ’ Gil Damico
Pam Holt Dir. of Transportation
Transportation Specialist (412) 963-9600
(404) 460-3520 Total Students: 3,300
Total Students: 12,500 -Square Miles: N/A
Square Miles: 200 Implemented: 1990
Implemented: 1990

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Framingham Public Schools Gaylord Community Schools
454 Water Street 615 South Elm Street
Framingham, MA 01701 Gaylord, MI 49735.
William Manning Stan Pearson
ion Director ‘Transportation Director
(508) 626-9179 (517) 732-6402 ext. B7
Total Students: 7,300 . Total Students: NA
" Square Miles: 25 oo - Square Miles: N/A
Implemented: 1990 Implemented: N/A
Freeport School District #145 “Germany” , .
501 East South Street. Motor Transport Branch, DOL
Freeport, IL 61032 ’ USMC, Giessen
Dan Casing Germany
Assistant Superintendent for Business Joachim Jobst
(815) 235-4151 Asst. Trans. Op. O
Total Students: 4,900 ()11-09-0641-402-764
Square Miles: N/A Total Students: N/A
Implemented: N/A Square Miles: A
° Implemented: NIA
Freeport Union Free 5. D.
Administrative Building . Glynn County Schools
235 North Ocean Avenue . - P.O. Box 1677 ©
Freeport, NY 11520 Brunswick, GA 31521
Ken Brown Howard Mann ~
Administrative Assistant - _ ° Director of ‘Transportation.
(516) 867-5220 (912) 267-4120
- Total Students: 6,500 ~~ my Total Students: 10,000
Square Miles: N/A Square Miles: NIA
Implemented: 1988 Implemented: 1989
Fulton County Board of Education Goshen Community School Corporation
786 Cleveland Avenue S, W. 721 Bast Madison Street
Atlanta, GA 30315 Goshen, IN 46526
Dr. James HL. Fox, Jr. Max Flandt
Superintendent Transportation Director
(404) 763-4587, , (219) 533-8631
Total Students: 42,000 Total Students: 4,500
Square Miles: 420 , Square Miles: 36

Implemented: 1990 Implemented: 1990

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Grand Blanc Community Schools
11920 South Saginaw Road
Grand Blane, MI 48439

Tony Leonardo

T ion Director

(313) 694-8211 xt. 207, 208
Total Students: 5,600
Square Miles: NIA
Implemented: 1988

Grand Ledge Public Schools
950 Jenne
Grand Ledge, MI 48837
Tim Bowers
tion. Supervisor
(S17) 627-9737.
Total Students: 5,000
Square Miles: 12S
Implemented: 1990

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Grand Rapids Public Schools

900 Union Avenue NE. ,

‘ -+ Grand Rapids, MI 49503
Bill Norder .

Comp. Consultant for Trans.”
(616) 771-3023 ‘

Total Students: 30,000.

Square Miles: 60 oa

Implemented: N/A

Granite School District -
ortation Office
340 Bast 3545 South
Salt Lake City, UT 84115
Ken Greiner
Director of Transportation
(801) 481-7137
Total Students: 90,000
Square Miles: N/A
" Implemented: 1989

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Greater Latrobe School District

410 Main Street

Latrobe, PA 15650
Stephan J. Bair
Assistant Superintendent for Business.
(412) 539-4200 or 4209 ext 23

- Total Students: 5,000

Great Falls Public Schools
1100 4th Street South
Great Falls, MT. 59403

Greenwich Public Schools ,
Havemeyer Building

Implemented: 1988

Guilderland Central School District
6094 State Farm Road
Guilderland, NY 12084
Jim Thompson
Transportation Supervisor
(518) 861-6434

_ Total Students: N/A

Square Miles: NIA
Implemented: 1990

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Gwinnett County Public Schools Harlingen Consolidated LS.D.
610 West Crogan Street 1409 Bast Harrison .
Lawrenceville, GA. 30245 Harlingen, TX 78550

Ed Hampton Ishmal Parades

Director of MIS Transportation Director

(404) 822-6403 - (512) 423-2151
Total Students: 62,100 Total Students: 14,500
Square Miles: 440 Miles: N/A.
Implemented: 1991 Implemented: 1989
City of Hammond Schools Havestraw-Stony Point School District
5777 Sobl Avene 65 Chapel Strest
Hammond, IN 46320 Garnerville, NY 10923

Michael Hriso Bernie Hughs

Supervisor of ‘Transportation tion Coor.

(219) 933-2438 or 2439 (914) 942-9700
Total Students; 13,500 Total Students:
Square Miles: 25 Square Miles: A
Implemented: 1990 Implemented: N/A

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Hampton City School System Hazleton Area School District
School Administration Center Church and Walnut Street .
1819 Nickerson Blvd. Hazleton, PA 18201
Hampton, VA 73663 Greg Cassano.

Joe Hawkins Supervisor of Transportation

Director of Transportation (717) 459-3190

(804) 850-5200 , Total Students: 10,027
Total Students: 20,000 Square Miles: 289
Square Miles: 144 Implemented: 1990
Implemented: 1989

Hazelwood School District

Harborsfield Union Free School District 3306 Douglas Road
2 Oldfield Road . Florissant, MO 63034
Greenlawn, NY 11704 Marvin Hahn

Joanne Grunner Business Manager

‘Transportation Supervisor (314) 921-4450

(516) 754-5301 Total Students: 17,000
Total Students: N/A Square Miles: 78

Square Miles: N/A
Implemented: 1990

Implemented: 1990

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Henry County School District Hollister Elementary School District.
397 Tomlinson Street 7161 South Street - : See
McDonough, GA 30253 Hollister, CA. 95023
Wayne Makie Dick Pi
Assistant Transportation Director Dir. of Computer Support Services
404) 957-6601 (408) 637-3781
Total Students: 40,500 . Total Students: 4,
Square Miles 350°" Square Miles: N/A
Implemented: 1990 Implemented: N/A
Hicksville Union Free School District Hopkins LS.D. #270
Administration Building 1001 State Highway 7
Division Avenue Hopkins, MN 55343
Hicksville, NY 11801 Bruce Swanson
Mary Lippman . Director of Transportation
ion Advisor (612) 933-9229
(516) 933-6679 Total Students: 6,762
Total Students: 4,700 Square Miles: N/A.
Square Miles: N/A. Implemented: 1990 .
Implemented: 1988 ,
. . Horseheads Central School District
Highline School Dist. #401 District Administration
17910 8th Avenue South Horseheads, NY 140445 | °
Seattle, WA 98148 Alta Plate . :
Mary Carr ‘Transportation Supervisor
rtation Director (607) 739-6339
(206) 433-2471. Total Students: 5,
Total Smdents: 6,000 _ Square Miles:
Square Miles: N/A Implemented: 1990
Implemented: 1988 mo
Huber Heights City School District,
Hilliard City Schools - 5954 Longford Road —-
5491 Scioto-Darby Road Huber Heights, OH 45424
_ Hilliard, OH. 43026 Roy Berger
Charlotte Liston Dir, Admin. Services
Transportation Supervisor a (513) 237-6392
(614) T71-4273 . Total Students: N/A
Total Students: NA Square Miles: N/A
Square Miles: N/A : Implemented: N/A

Implemented: N/A.

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Hudson-Litchfield School District Huntsville Independent School District
School Administrative Unit #27 441 FM 28218 —
20 Library Street _ Huntsville, TX 77340
Hudson, NH 03051 Ed Garner

Fred Deppy oO , Transportation Director -

‘Transportation Coordinator (409) 295-5487

(603) 886-1239 . "Total Students: 6,200
Total Student: NA Square Miles: 630
Square Miles: N/A Implemented: 1989
Implemented: 1990

: Hyde Park School District

Humble Independent School District Smith Court
1703 Wilson Road . Hyde Park, NY 12538
Humble, TX 77338 Max Chandler

Gilbert Srygley Supervisor of Transportation

‘Transportation Director , (914) 2298-9131

(713) 540-5900 Total Students: 4,600
Total Students: N/A Square Miles; 75
Square Miles: N/A Implemented: 1990
Implemented; N/A

Iberia Parish School Board ©

Huntington Union Free School District 200 School Board Drive . - :
Administration Building cs New Iberia, LA 70560 SO
Woodhull Road . Metvin Small .
Huntington Station, NY 11746 Supervisor of Transportation & Related -

Carl Cozzette ction |

Su of Transportation _ (B18) 365-2341

(516) 673-2038” rts _. Total Students: 13
Total Students: 4,600 Square Miles: WA
Square Miles: N/A Implemented: 1990

Implemented: 1988

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Indianapolis Public Schools
SCIPS Complex Oo
901 North Carrollton Avenue
Indianapolis, IN 46202

(B17) 226-4644.
Total Students: 50,000
Square Miles: 500
Implemented: 1990

Indian River Central School District

Indian River County School District ,

4990 25th Street
_ Vero Beach, FL 32960

Kathleen Geyer - .
Director of Transportation
(407) 770-5553...

Total Students: 12,000: .

Square Miles: 525

Implemented: 1990

Ionia Public Schools

433 Union Street

Tonia, MI 48846
Greg King
Transportation Director ~
(616) 527-9280

Total Students: 3,000

Square Miles: 250

Implemented: 1989 |

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Irving Independent School District
901 O'Conner Road

Implemented: N/A

Juneau School District
10014 Crazy Horse Drive
Juneau, AK 99801
Patsy Wardrip
Facilities Coordinator
(907) 586-2303
Total Students: 4,750
Square Miles: N/A
Implemented: 1986

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Kansas City School District
800 Bast 21st Street
Kansas City, MO 64108
Mrs. Pat Yancy
Director of Transportation
(816) 871-7825
Total Students: 36,500 -
Square Miles N/A. °
Implemented: 1989

Katy Independent School District
- 2901 Dulaney .
Houston, TX 77084

Bill Kyser

Director of Transportation

(713) 578-22100r 2186
Total Students: 15,500
Square, Miles: 181
Implemented: 1989

Kearsley Community Schools
. .G-4396 Underhill Drive
Flint, MI 48506
Glen Pachike .
Director of Financial Operations
(313) 736-8000 ext. 350
Total Students: 3,500
Square Miles: NIA ~
Implemented: N/A

Kennewick School District #17
200 South Dayton Street
Kennewick, WA 99336
Maurice Meilleur
Supv. of Comp. Services
(509) 736-2100
Total Students: 10,300
_ Square Miles: N/A
Implemented: 1991 -

CONFIDENTIAL

Kenosha Unified School District #1
3600 52nd Street Lo

Kent School District #415
25211 104th Avenne Southeast

Kent, WA 98031

~ Clandia Otey
Director of Transportation
206) 859-7442
“Total Students: 18,500

" iitleen Independent School District

200 North W.S. Young Drive
Killeen, TX 76543
James R. Young
Director of Purchasing
(817) 526-8361
Total Students: N/A
Square Miles: N/A.
Implemented: NIA

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